                                                                                      Case 3:18-cv-01477-JR                          Document 285-5   Filed 11/16/22               Page 1 of 2

�                                                                                                                                                                                                     NIKE, INC. ORGANIZATION CHART




TREVOR EDWARDS                     DON BLAIR                    JEANNE JACKSON           JOHN SLUSHER          TOM CLARKE        JOHN HOKE            HILARY KRANE       TINKER HATFIELD        MARIA EITEL          JIM CALHOUN           DAVID AYRE
     President                          EVP                          President                EVP                President            VP                    EVP                  VP               President             CEO &                  EVP
     Nike Brand                         CFO                         Product &             Global Sports          Innovation      Global Design            CAO &          Creative Concepts     Nike Foundation         President            Global HR
        (NET)                        Nike, Inc.                    Merchandising            Marketing                                                 General Counsel                                                  Converse               (NET)
                                       (NET)                           (NET)                                                                               (NET)




                  NICK ATHANASAKOS                         AMY WHITE                 PA11Y ROSS           GERRY ROGERS        SHELLEY DEWEY           HANS VAN ALEBEEK     PAUL SAUNDERS          DOUG SPARKS            JIM EDDY            MA11 LIPPERT
                             VP                             VP                            VP                     VP                VP                        EVP                   VP               Sr. Director              VP               Sr. Director
                      Global Sourcing               Category Operations            Workplace Design       Logistics & GEO       Planning                GLOBAL SHARED       Chief SC Officer     Indirect Sourcing    Global Real Estate          Direct
                                                           GBL                      & Connectivity        Operations GBL          GBL                     SERVICES &           Converse                                                       Procurement
                                                                                                                                                        PROCUREMENT




 NET= Nike Executive Team   Addltlonal NET members: Chris Clipper & Jayme Martin




  Confidential                                                                                                                                                                                                      NI KE_00046625
                                                                                                                                                                                               Sun Decl. Ex. 55, Page 1 of 2
                                                                                                                                   Case 3:18-cv-01477-JR                                    Document 285-5                                         Filed 11/16/22                                Page 2 of 2

�                                                                                                                                                                                                                                                                                                         NIKE, INC. BUSINESS PARTNERSHIP CHART



                                                                                     DIGITAL I OTC                                             PRODUCT ENGINE                                                                                                           FINANCE I HR I CORPORATE SERVICES I LEGAL I SB & I
                                                                                   BUSINESS PARTNERS                                          BUSINESS PARTNERS                                                                                                                         BUSI NESS PARrnERS




                                                                                                                                            VP                                                                                                                                                                                    DOii BIAIR           DAVID AYRE        ffllARJ KRAIIE        IIANIIAH JOIIES
                                                                                                                       President                                                                                                                                                                                                      EVP                   EVP             EVPCAO&                     VP
                                                                                                                                       PrMuctEllglne
         Nike.Inc:.                                                                                                       ore            So1Ut10:ns                                                                                                                                                                                      ,ro             Global HR        BeneralGouns:e:I    Sus:lalnableBus:ine:ss
                                                                                                                         (Nil)                                                                                                                                                                                                       (NET)                 [NET)              (NET)                &Innovation




                                                                                                                        STEVfDEf       MIKEIIIAIIN
                                                                                                                                                             Sr.Director                Director           Sr.Ilirector            Director           Sr.Director         Sr.Manager              Director              Sr.Director            Sr.Director       Sr.Director
                                                  Products&                                     capabmtyProduet                                           Strategic Planning       Ftnancehchnology     Enabling functions   nnaneer11chno:logy          HR&               Strategy&     Enterp:rlseGolfaboratfon      Global Finance          Hr Process        Ops Partner
                                              Programs Commerce                                                                                                                         Portfolio       &ConverseStriflegy    Solution�Oelive:ry   CoqrnrateSolutions     Architecture        &Productivity          Processlnnovalinn         &Innovation        &C:omms
                                                                                                                                                                                  &Project Management


                                          SUPPLY CHAIN: PLANNING, FULFILLMENT & GLOBAL TRADE                                                                                    SALES                                                                                                                     GEOGRAPHIES & AFFILIATES
                                                          BUSI NESS PARTNERS                                                                                              BUSINESS PARTNERS                                                                                                                  BUSINESS PARTNERS




                                                                                                                                                                                                                                                                                                                                                                         RIUIIT Hill         JOAQUIII HIDALGO
                                                                                                                                                                                                                                                                                                                                                                           Pnmdanl                   VP/GM
                                                                                                                                                                                                                                                                                                                                                                       GeogrnplllesJSales        Nort�Amarlea
                                                                                                                                                                                                                                                                                                                                                                             (NET)




                                                                                        RIIIIDYPOOI
                                                                           ""''""" ''""""''Si:'Oklijtifr
                                                                                            Planning
                                          · · · · · · · · · ·· ·······u1riiwmm,1
    ,..................... ............................ ................................., ..................ISL.. .




NET=Nlka Executive Team                          Additional NET members: Chris Clipper &Jayme Martin




   Confidential                                                                                                                                                                                                                                                                                                                          NI KE_00046626
                                                                                                                                                                                                                                                                                                                    Sun Decl. Ex. 55, Page 2 of 2
